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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

       -against-                               19-CR-561 (LAP)
                                               11-CV-691 (LAK)
STEVEN DONZIGER,
                                                   ORDER
                 Defendant.


LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

    By order dated October 28, 2020, the Court directed Mr.

Donziger to propose procedures for taking remote trial testimony

of defense witnesses.    (Dkt. no. 196.)     Mr. Donziger has filed

his proposals, and the Government has responded.        (Dkt. nos.

197, 198.)   Having considered the parties’ proposals, the Court

approves the following procedures for remote testimony of

defense witnesses:

    (1)   The defense shall identify for the Court each witness
          and the specific location from which the named witness
          will be testifying at least 48 hours before the
          testimony.

    (2)   To the extent the defense intends to introduce any
          exhibits during the direct examination, the defense
          shall identify and provide copies of those exhibits to
          be used during that examination to the Court and the
          special prosecutors at least 24 hours before the
          witness’s testimony. The defense will arrange for a
          copy of those exhibits to be available at the location
          where the witness is testifying.

    (3)   Insofar as any witness requires an interpreter, a
          court-certified interpreter will provide the
          translation from the courtroom at 500 Pearl Street.
          Thus, to ensure such services will be available, the
          defense must provide notification of the need for an
          interpreter and the language at issue by November 9.

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 (4)   The witness may not consult with anyone other than the
       Court, the attorney conducting the examination, and,
       if applicable, the court-certified interpreter while
       he or she is testifying. This rule does not apply to
       consultation during breaks in testimony.

 (5)   Other than the transcription by the official court
       reporter, the testimony and court proceedings may not
       be recorded, live-streamed, or otherwise broadcast.
       Photographs of the testimony are also prohibited.

 (6)   The defense will use the S.D.N.Y. videoconference
       platform “Jabber” for the witness’s remote testimony
       and must successfully test that platform at least 72
       hours before the testimony. To the extent there is an
       issue with that platform, the defense will immediately
       advise the Court. If the defense wants to use another
       videoconference platform for a witness’s remote
       testimony, the defense must make an application no
       later than November 9, 2020.

 (7)   The oath will be administered by the Court’s courtroom
       deputy.

 (8)   Witnesses providing remote testimony shall be
       instructed to follow the following guidelines:

       a. To the extent possible, please choose a location
          that can provide you with the best and most
          consistent internet access.

       b. To the extent possible, please choose a location
          that can provide you quiet and solicitude so that
          you will not be interrupted or distracted while
          testifying.

       c. To the extent possible, choose a location where you
          can be alone. While you are testifying, you may not
          consult or communicate with anyone other than the
          Judge, the attorney conducting the examination, and,
          if applicable, the court-certified language
          interpreter.

       d. Even though you are not in a courtroom, you shall
          testify as if you were in court. You will take an
          oath to tell the truth, your testimony will be
          recorded and will become part of the official court
          record for this case. Mr. Donziger or his counsel


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              will ask you questions, and the prosecutors may or
              may not ask you questions.

          e. Your testimony and the court proceedings may not be
             recorded, live-streamed, or otherwise broadcast.
             Photographs of the testimony are also prohibited.

          f. Once you are finished testifying, the Judge will
             thank you and you will be free to disconnect and
             your “court session” will be complete.


SO ORDERED.

Dated:   November 5, 2020
         New York, New York




                                       ___________________________
                                       LORETTA A. PRESKA, U.S.D.J.




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